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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ROGER GIFFORD,                                    No. 2:16-CV-0596-DJC-DMC
12                       Plaintiff,
13           v.                                         ORDER
14    HORNBROOK FIRE PROTECTION
      DISTRICT, et al.,
15
                         Defendants.
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18                  Plaintiff, who is proceeding pro se, brings this civil action. Pending before the

19   Court is Plaintiff’s motion, ECF No. 75, for a 60-day extension of time to file objections to the

20   Court’s March 29, 2024, findings and recommendations. Good cause appearing therefor based on

21   Plaintiff’s declaration indicating the need for additional time due to impaired access to the nearest

22   law library, Plaintiff’s motion will be granted.

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     Case 2:16-cv-00596-DJC-DMC Document 76 Filed 05/14/24 Page 2 of 2


 1                 Accordingly, IT IS HEREBY ORDERED as follows:

 2                 1.      Plaintiff’s motion for an extension of time, ECF No. 75, is GRANTED.

 3                 2.      The parties may file objections to the Court’s March 29, 2024, findings and

 4   recommendations within 60 days of the date of this order.

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 6   Dated: May 14, 2024
                                                         ____________________________________
 7                                                       DENNIS M. COTA
 8                                                       UNITED STATES MAGISTRATE JUDGE

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